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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA

  In re: Grand Jury Subpoena,   )
                                )
  CHELSEA MANNING,              )
                                )                  1-19-dm-00012-AJT
              Movant.           )
  ______________________________)




                          NOTICE OF INTENT TO FILE REPLY

       COMES NOW, Chelsea Manning, through counsel, and respectfully notices her intent to

reply to the government’s response to her Motion to Reconsider. Counsel will file the reply by

June 20, 2019.



                                            Respectfully Submitted,
                                            By Counsel



Dated: June 17, 2019

                                            /s/ Moira Meltzer-Cohen
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